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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 HOPE COLEMAN, individually and as the
 legal representative of the ESTATE OF
 TERRENCE J. COLEMAN,
            Plaintiff,                                  No. 18-cv-10646-MLW

         v.

 CITY OF BOSTON, MICHAEL COX in his
 official capacity as Commissioner of the
 Boston Police Department, BOSTON
 PUBLIC HEALTH COMMISSION,
 WILLIAM EVANS, SOPHIA DYER, M.D.,
 GARRETT BOYLE, and KEVIN FINN,
             Defendants.


                    SUPPLEMENTAL SUBMISSION IN RESPONSE TO
                        FEBRUARY 20, 2024 ORDER [D.E. 346]

        Ms. Coleman and the City hereby clarify that Ms. Coleman, the City, Commissioner Cox

(in his official capacity), the Boston Public Health Commission, Mr. Evans, and Dr. Dyer have

reached an agreement in principle, subject to execution of a mutually acceptable written

agreement. Their agreement contemplates, among other terms, that Ms. Coleman, the City,

Commissioner Cox, the BPHC, Mr. Evans, and Dr. Dyer will execute mutual releases and also that

Ms. Coleman will move pursuant to Rule 41(a)(2), to dismiss all her pending claims against all

Defendants, including Mr. Boyle and Mr. Finn. Defendant police officers Garrett Boyle and Kevin

Finn have not agreed to settle this matter and will not stipulate to the dismissal of the claims against

them.

                                   [signatures on following page]




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                                                      Respectfully submitted,

         CITY OF BOSTON                               HOPE COLEMAN

         by their attorneys,                          by her attorneys,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on February 28, 2024.

                                                      /s/ Joshua C. Sharp
                                                      Joshua C. Sharp




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